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Department of Homeland Security
U.S. Citizenship and Immigration Services                                                    G-24, Certification of Documents


                                            United States of America
                                                   Department of Homeland Security
                                                 U.S. Citizenship and Immigration Services

                                                                                                            12/10/2012
                                                                                                         Date (mmlddlyyyy)

                                                          Certification of Documents
                                                             (Originals or Copies thereof)


    BY VIRTUE OF the authority vested in me by Title 8, Code of Federal Regulations, Part 103 of the
 Immigration and Nationality Act, and Title IV, Subtitle E, Sec. 451 and Sec. 456 of the Homeland Security
 Act of 2002,
     I HEREBY CERTIFYthat the annexed documents are originals, or copies thereof, from the records of
 U.S. Citizenship and Immigration Services, Department of Homeland Security, which the Secretary is the
 legal custodian by virtue of Section 103 of the Immigration and Nationality Act. These documents relate to:


 Subject: Carmelo MARTINEZ




 Also known as (aka):          Camelo MARTINEZ; Carmelo Peguero MARTINEZ; Carmelo PEGUERO-MARTINEZ;




 File and/or Certificate Number: AXXXXXXXX                                                                                  Pages: 8




                       Calvin Wilson, Record'sl\,fanager

                   (Print-N.tn1:: and Tit(o of Authori.zed Person)
                                      ~:-:- ·..·, ·. ·.~--
                                            ..             .
                                   ,
                      HQustt~t District-Office of Records

                           .(Office of,Authorized
                                           ,
                                                  .Person)




                                                                                                                Fonn G-24 (Rev. 03/31/06) Y



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U.St Department of Homeland Security,                                             Warrant of Removal/Deportation

                                                                                                FileNo: AXXXXXXXX
                                                                                       Event No: ALW1003000034
                                                                                              Date: February 17, 2011


To any immigration officer of the United States Department of Homeland Security:
    Carmelo MARTINEZ AltA1
    CARMELO N,    SANTANA
    CARMELO ~BGtJBRO-MARTINBZ
    ,,, (CONTINUED ON I-831)

                                                   (Full name ofalien)


     who entered the United States at    unknown                                           on Unknown date
                                         =='-=------------
                                              (Place of entry)                                             (Date of entry)

     is subject to removal/deportation from the United States, based upon a final order by:

         D     an immigration judge in exclusion, deportation, or removal proceedings
                                                           '
         66    a designated official
         D     the Board of Immigration Appeals
         D     a United States District or Magistrate Court Judge

     and pursuant to the following provisions of the Immigration and Nationality Act:
      237 (a) (2) (A) (iii)




     I, the undersigned officer of the United States, by virtue of the power and authority vested in the
     Secretary of Homeland Security under the laws of the United States and by his or her direction,
     command you to take into custody and remove from the United States the above-named alien,
     pursant to law, at the expense of:
      Salaries and Expenses, Department of Homeland Security 2011.




                                                                     ~~~
                                                                     THOMAS DBCKBR -
                                                                     (Signature ofimmigration offi<X:r)

                                                               Field Office Director
                                                                           (l'itleofimmigrn!ioo officer)

                                                      February 17, '2011, Philadelphia, PA
                                                                         (Dale andoffioo location)




                                                                                                                 Fonn 1-205 (Rev. 08/01/07)


        EXHIBIT 76 Page 002
                                                                                                                                              .1. -
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l l1.15'1 L/.v7~
                                  Final Administrative Removal Order
                     removal proceedings under section 238(b) of the Immigration and Natlonallty Act
                                                                                                             •
                                                                              Evant Noa ALWl003000034
                                                                                 FIN# 1113289106
                                                                              File Number A0910720l0
                                                                                     Date January 3, 2011



   To:   Caxmelo MARTINEZ AKA1 SANTANA, CARMELO NINO1 PEGUERO-MARTINEZ, CARMELO I SANTANA-PEGUERO, CARMELO

   Address: xosHANNoN   vALLBY coRRBCTioNAL cBNTaR 555 oso oaivs PHILIPssuRo PA UNITBD sT.r.Tss 160&&

                                                            (Number, Strool, City, State and ZIP Codo)

   Telephone:
                             (Aroa Code and Phone Number)




                                                                  ORDER

  Based upon the allegations set forth in the Notice of Intent to Issue a Final Administrative Removal Order and
  evidence contained in the administrative record, I, the undersigned Deciding Officer of the Department of
  Homeland Security, make the following findings of fact and conclusions of law. I find thi,:lt you are not a citizen or
  national of the United States and that you are not lawfully admitted for permanent resi,genpe. I further find that
  you have a final conviction for an aggravated felony as defined in section 101 (a)(43)~ l}tlf the Immigration and
  Nationality Act (Act) as amended, 8 U.S.C. 1101(a)(43)t¼t), and are ineligible for any relief from removal that the
  Secretary of Homeland Security, may grant In an exercise of discretion. I further find that the administrative
  record established by clear, convincing, and unequivocal evidence that you are deportable as an alien convicted
  of an aggravated felony pursuant to section 237(a)(2)(A)(lli) of the Act, 8 U.S.C.1227(a)(2)(A)(iii). By the power
  and authority vested in the Secretary of Homeland Security, and in me as the Secretary's delegate under the laws
  of the United States, I find you deportable as charged and order that you be removed from the United States to:

  DOMINICAN REPUBLIC
  or to any alternate country prescribed in section 241 of the Act.

                                                                           SCOTT R. BLAKE


                                                                           ASSISTANT FIELD OFPICB DIRECTOR
                                                                                        (TIUo of Official)



                                                                             2d(o4fr.~8~~~
                                                               Certificate of Service

  I served this FINAL ADMINISTRATIVE REMOVAL ORDER upon the above named individual.

          $,,tnKL                       MVC-PHILIPSBURG. PENNSYLVANIA
                                                            (Deto, Time, Pisco and Manner of Service)
                                                                                                             DI- Pf!ft9eH   b':( ~y- 2/ {(1 (t I

                                              rA)      ~     IMMIGRATION ENFORCEMENT AGENT
                                              L                                         (Signature and TIiie of OIOcer)


                                                                                                                            Form I-851A (Rev. 08/01/07)

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To be completed by immigration officer .executing the warrant:
Name of alien being removed:
Carmelo MART:INBZ


Port, date, and manner of removal:




                                                                       --   t ........




                              Photograph of alien                                                                Right index fingerprint
                                   removed                                                                          of alien removed



       (Signature of alien being fingerprinted)




       (Signature and title of immigration officer taking print)




 Departure witnessed by:
                                                          {Signature and title of immigration officer)



 If actual departure is not witnessed, fully identify source or means of verification of departure:




 If self-removal (self-deportation), pursuant to 8 CFR 241.7, check here.                                    D




 Departure Verified by:
                                                              (Signature and title of immigration officer)



                                                                                                                               Form 1-205 (Rev. 08/01/07)

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U.S. Department of Homeland Security
                                           •
            Case 4:17-cv-03621 Document 18-76 Filed on 07/01/19 in TXSD Page 5 of 9



                                                                                Immigration Detainer - Notice of Action
                                                                                                Sub1ect ID 1 283202900
                                                                                                Bvant Nol ALW1003000034
                                                                                                File No. A091 072 010
            DETAINER FAXED 7--e?-,,.,                                                              Date:March 5, 2010


TO: (Name and title of institution)                                         From: (Office address)
 MOSHANNON VALLEY CORRECTIONAL                                                DRO - Allenwood, PA Sub Office
 210 LOCH LOMAND RD                                                           U.S. I-MMIGRATION & CUSTOMS ENFORCEMENT
 PHILIPSBURG, PA . 16866                                                      DRO - Allenwood, PA Sub Office
                                                                              ALLENWOOD, PA 17810


Nameofaliem MAR'l':INBZ, Ca:gnelo          ffe/'11:- ;JP(7lf-cJ7'l f/CP 9- <-t-o
... (MISCBLLANBOUS NUMBBRS CONTINUBD ON I-831)
Date of birth:                                             Nationality:    DOMINICAN RBPUBLIC                             Sex:M
                                                                                                                                - -----
You are advised that the action noted below has been taken by the U.S. Department of Homeland Security
concerning the above-named inmate of your institution:

!i1 Investigation has been initiated to determine whether this person is subject to removal from the United States.
D A Notice to Appear or other charging document initiating removal proceedings, a copy of which is attached, was served on
             (Date)
D A warrant of arrest in removal proceedings, a copy of which is attached, was served on _ __             _ _ _ _ __
                                                                                                          (Date)
D Deportation or removal from the United States has been ordered.
It is requested that you:
Please accept this notice as a detainer. This is for notification purposes only and does not limit your discretion in any decision
affecting the offender's classification, work, and quarters assignments, or other treatment which he or she would otherwise receive.

!Kl Federal regulations (8 CFR 287.7) require that you detain the alien for a period not to exceed 48 hours (excluding Saturdays,
    Sunday's and Federal holidays) to provide adequate time for OHS to assume custody of the alien. You may notify DHS _by calling
     570-547-6903 during business hours or _ _ _ _ _ _ _ after hours in an emergency.
D   Please ,complete and sign the bottom block of the duplicate of this fonn and return it to this office. D A self-addressed stamped
    envelope is enclosed for your convenience. D Please return a signed copy via facsimile to _ _ _ _ _ __ __ __
                                                                                                         (Arca code and facsimile number)
    Return fax to the attention of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , at
                                              (Name of officer handling case)                   (Area code and phone number)
!i1 Notify this office of the time of release at least 30 days prior to release or as far in advance as possible.
gf] Notify this office in the event of the inmate's death or transfer to another institution.
D Please cancel the detainer previously placed by this Office ou _ _ _ _ _ __
  STEVEN FLICK ,L$_          ~                                                     IMMIGRATION ENFORCEMENT AGENT
        (Slgnatureof~igrntion Officer)                                                    (Title of Immigration Officer)
Receipt acknowledged:

Date of last conviction: _ _ _ _ __ _ _               Latest conviction charge: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Estimated release date: - -- -- -- - -- -- - - - - -- -- -- - - - - - - - - -- - -- - -
Signature and title of official: _ _ _ _ __ _ __ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ __ _ __ _ _ __
                                                                                                                      Form 1-247 (Rev. 08/01/07)

       I
       EXHIBIT 76 Page 005
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        #
                 ....

    U.S. Department of Homeland Security

    Alien's Name
                                                •
                        Case 4:17-cv-03621 Document 18-76 Filed on 07/01/19 in TXSD Page 6 of 9




                                                       File Number
                                                                     Continuation Page for Form _ 1_2_4_7_ _ _ __

                                                                                     Date
    MARTINEZ, Carmelo                                  A091 072 010                     March   s,   2010
                                                       Event No: ALW1003000034
    MISCELLANEOUS NUMBERS
    ----- ------- --- -------
    SOP :79574-079




                                                                                '




     Signature                                                         ITitle
                                      STEVEN J'L ICK                                I MMIGRATION ENFORCEMENT AGENT


                                                                                               2
                                                                                              ___ of _ _2 _ Pages


     Fonn I-831 Continuation Page (Rev. 08/01/07)
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              EXHIBIT 76 Page 006
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 ....,
                •
U.S. Department of Homeland Security

Fomily Name (CAPS)
                                                             •
                       Case 4:17-cv-03621 Document 18-76 Filed on 07/01/19 in TXSD Page 7 of 9

                                                               Subject ID , 2e3202900

                                                                         Flnt                                    Middle
                                                                                                                                                •
                                                                                                                                     Record of Deportable/Inadmissible Alien

                                                                                                                                                                   Sex            Hair             Eyca         Cmplxn
 MARTINBZ, Carmelo                                                                                                                                                II              BLD              BRO          LQT
Country ofCidzenahip                                                      Pli1J>Drt Nwnbcr and Counlry aflm,o        CU• No     ;ltt\J."6~~ 000034                 HeisJ,I        WeisJ,1          Occupation
 DOMINICAN RBPOBLIC                                                                                                  AXXXXXXXX                                    67             150              Laborer
U.S. Addrcn                                                                                                                                                        Seara and Marko
 See Narrative                                                                                                                                                     S••       Narrative
Onie, Place, 11mo, and MonncrofLaal Entry                                                                                  Pu1engcr Botrdcd al                     F.B. I. Number            Ill Single
trnlmown Date, unknown Time, UNlt, Without in•pection                                                                                                                                        C Divorced CManied
                                                                                                                                                                                      8      C Widower C Se AnJed
Number, Sm:ct, City, Province Smo) and Country of Pcrmon.cnl Rcaidcnce                                                                                             Method of Loco ti on/Apprehension


Dato of Birth                                                                               Dato of Action                  LocoUon Code                           Al/Near                   Date/Hour
                                              Ages 41                                      01/03/2011                   PHI/ALW
City, Province (Slato) and Country of Birth                                                          Fenn : (Type and No.) Ufiod O Nut Ufiod                       By
 HIGUBY,OTR,DOIIINICAN RBPOBLIC
NIV Iuui ng Post and NIV Number                                                            Social Security Account Name•                                           Stallll at Entry                SIBl\11 When Found
                                                                                                                                                                  PWA Other                     IN INSTITUTION
Dql_• Vlll Jq_ucd                                                                          Sad~ °"'/rlly N~mbar .                                                  ~nsth of-Time Dltoplly In U.S, -
                                                                                                                                                                   OVER 1 YBAR
lmmlararion Record                                                                                               Criminal Record
 POSITIVB - See Narrative                                                                                        See Narrative
Name, Addreu, and Nadonallty of Spou•• (Maiden Name, If Appropriate)                                                                                               Number and Nationality of Minor Children
                                                                                                                                                                   ONmOWN
Father' 1 N1mo, N«lonality, 011d ddrcu, if Known                                                                            Mother', Prooont and Malden NamoJ, Nationality, and Addrcu, If Known
PBGOBRO, Teofilo NATIONALITY, DOMINICAN RBP'D'BLIC                                                                         MARTXNBZ, I•ah•l Ka.,:colina NATIOHALITY1 DOKINICAH
                                                                                                                           RBPOBLIC
Monios Duo/Property in U S. Not in Immediato Pones,ion                                             l'lngerprinted?                 No     Systems Checks          Charge Code Words(•)
 None Claimed                                                                                                                             See
                                                                                                                                          Narrative
Name and Addreu of(LastXCurrent) U.S. Employer                                                     Type of Employment                                Salary                   Ilmployod frnn1/to
                                                                                                                                                                         Hr
Narrative (Outline particular, undor which alien wa, located/apprehended. Include Jo11ll 1 not shown abovo logardlns time, pioca and manner orl11t entry, ,ttcmptcd entry, or ~•Y othor onlry, ono
elem~nts which establish administrative and/or crlminal violation, Indicate mean, and roulo of lravel to interior.)
PINS, 1113289106                                                                      Index fingerprint                                            Right Index fingerprint




 NCIC Leval l


 OTHBR ALIASBS XNOWN BY1
 SANTANA,CARIIBLO NINO
 PBGUBRO-MARTINBZ,CARIIBLO
 SANTANA-PB<roBRO,CARMBLO
 ,,, (CONTINIJBD ON I-831)



                                                                                                                            BRYAN H A E P N B ~
                                                                                                                            IMMIGRATION ~ G E N T
Alien h11 boon advised of comlnunication prlvilogo1 _ _ _ _ _ _ _ _ _ _ _ (Dato/Initials)                                                        (Si3n1turo and Title of lmmlgnd on Officer)
Distribution:                                                                                                   Received : (Subj eel and Documents) (Report of Interview)

A-PILB                                                                                                          Officer:   BRYAN HAEPNBR
                                                                                                                on :   January 3, 2011 at 13                                                       filmc)
                                                                                                                Disoo-s-iti_o_n:--:AD-:::M::I::N::I::S::T::RA:::T::I::VE=--:D:BS:=~~~:-:I---=e-=s 1 / I -   8 51A

                                                                                                                Examinina Officer:          STEWART L, GINGERICH

                                                                                                                                                                                            Fenn 1-213 (Rev. 08/01/07)


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                                                           on 07/01/19 in TXSD
                                                                          for FormPage   8 of 9
                                                                                       213
U.S. Department of Homeland Security                                               - I- - -- - - -
Alien~s·Name                                         File Number               Date
MARTINEZ,         Carmelo,                           AXXXXXXXX                   01/03/2011
                                                     Event No: ALW1003000034
US ADDRESS

MOSHANNON VALLBY CORRECTIONAL CENTER 555 GEO DRIVB
PHILIPSBURG, PENNSYLVANIA, 16866,

SCARS, MARKS, AND TATTOOS

SCAR ARM, RIGHT, NONSPECIFIC


RECORDS CHECKED

CIS Pos
NCIC Pos
SN'i'RY Pos
TECS Neg


Record of Deportable/Excludable Alien:
METHOD OF APPREHENSION: Subject MARTINEZ, Carmelo is currently incarcerated by the Federal
Bureau of Prisons, at the Moshannon Valley Correctional Facility, Philipsburg, Pennsylvania,
under the Bureau of Prisons register number 79574-079. Subject waa encountered by Allenwood
ICE/DRO pursuant to the Criminal Alien Program. A detainer was filed with the institution on
or about Mar ch 05, 2010.

On August 21, 1998 subject was convicted in the United States District Court, Southern
District of Texas for the offense(s) of: (count 1) CONSPIRACY TO POSSESS WITH INTENT TO
DISTRIBUTE 5 KILOGRAMS OR MORE OF COCAINE in violation of Title 21 United States Code
section 846 and (count 3) USING AND CARRYING A FIREARM IN RELATION TO A DRUG TRAFFICKING
OFFENSE in violation of Title 18 section 924(c) (l). Subject received a term of imprisonment
to consis,t of 151 II\Onths on count l and 60 months on count 3 to run consecutively. The
subjects projected release date is September 03, 2013.

ALIENAGE AND REMOVABILITY: Subject is not a citizen or national of the United States.
Subject is a citizen and national of the Dominican Republic. Subject is not a Lawful
Permanent Resident of the United States. Subject entered the United States on an unknown
date, time and location without permission, parole or inspection by an Immigration Official.


CRIMINAL HISTORY: Subject has a criminal history to include the following:
09/26/91- ASSAULT, Harris Co. Court at Law #6 .TX, sentenced to 20 days jail.
10/20/92- l.CRIMINAL MISCHIEF, 2,ASSAULT1 3.NEGLIGENT INJURY TO A CHILD, Harris Co. District
Court TX, sentenced to 20 days jail on counts land 21 and 6 months jail on count 3.
01/20/94- DRIVING WHILE INTOXICATED, Harris Co Court at Law #12 TX, sentenced to 30 days
jail,

IMMIGRATION HISTORY: On September 08, 1988, the subject filed an Application for Temporary
Residence/Special Agricultural Worker (Form I-700) in San Juan, Puerto Rico. This
application was approved and status was adjusted on September 13, 1988. On July 30, 1991,
the subject was granted legal permanent residence under Section 210(a) (2) (B) of the INA. On
November 18, 1993, the subject's Lawful Permanent Resident status was rescinded, theDfore
reverting status back to EWI •
..• (CONTINUED ON NEXT PAGE)

Signature                                                           Title
                                 BRYAN HM!:l!Nll:R                          IMMIGRATION ENFORCEMENT AGENT


                                                                                       2
                                                                                      ___ of _ _3 _ Pages

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U.S. Deparunent of Homeland Security

Alien's Name
MARTINEZ, Carmelo
                                               •
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                                                      Continuation. for Form - 12

                                                   File Number
                                                   AXXXXXXXX
                                                   Event No: ALW1003000034
                                                                                - 13
                                                                             Date
                                                                                   - - -- --

                                                                                01/03/2011

HEALTH/HUMANITARIAN:
        .
Subject claims to hive immediate family living in the United States.
A check of PACER indi cates that the subject ha• no appeals pending.
                               1




Subject has no immigration petitions pending.
Subject haa no travel documents.
Subject haa not served in the United States Military.
Subject claims no fear of persecution or torture if returned to the Dominican Republic.
RBCOMMBNDATIOifi . . . ,. -·. '' ' -- . . , ... .
Subject will be processed as an aggravated felon for Administrative Removal under section
238{b) of the Immigration and Nationality Act.




Signature                                                         Title
                                                                          IMMIGRATION ENFORCEMENT AGENT


                                                                                     3 _ of _ _
                                                                                    __         3 _ Pages


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